                                                                              Motion GRANTED.
                                                                              Hearing reset for
                                                                              8/30/12 at 4:00 p.m.
                    IN THE UNITED STATES DISTRICT COURT
                        MIDDLE DISTRICT OF TENNESSEE
                                AT NASHVILLE


     UNITED STATES OF AMERICA                     )
                                                  )
     vs.                                          )      CASE No.  2:11-00002
                                                  )      JUDo     GE TRAUGER
     KEVIN JAMES WOODY                            )
     Defendant                                    )

                 MOTION TO CONTINUE SENTENCING HEARING

            Comes now the defendant, Kevin James Woody, by and through counsel

     of record, David R. Heroux, and herein moves this Honorable Court to continue

     the Sentencing Hearing set in this matter for July 11, 2012. The defendant would

     request, subject to the Court’s calendar, the Sentencing Hearing be rescheduled to

     sometime in the week of the 20th or 27th of August 2012. An affidavit of Counsel

     has been filed in support of this motion.


                                                  Respectfully submitted,

                                                  Haymaker & Heroux, P.C.


                                                  s/ David R. Heroux
                                                  David R. Heroux,      BPR 20798
                                                  Attorney for the Defendant
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